









Dismissed and Memorandum Opinion filed October 21, 2004









Dismissed and Memorandum Opinion filed October 21,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-04-00881-CR

____________

&nbsp;

ISRAEL RIOS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
208th District Court

Harris County, Texas

Trial Court Cause No. 980,004

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of aggravated
robbery.&nbsp; In accordance with the terms of
a plea bargain agreement with the State, the trial court sentenced appellant on
August 12, 2004, to confinement for five years in the Institutional Division of
the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed October 21, 2004.

Panel consists of Justice
Anderson, Hudson, and Frost.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





